              Case 1:05-cr-00112-DAD Document 115 Filed 03/18/15 Page 1 of 2

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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:05-CR-00112-AWI-2

12                                  Plaintiff,           STIPULATION REFERRING MOTION FOR
                                                         COUNSEL FOR SENTENCE REDUCTION TO
13                           v.                          FEDERAL DEFENDER’S OFFICE AND
                                                         PROBATION OFFICE AND ORDER THEREON
14   MANUEL CAMACHO ALVAREZ,

15                                 Defendant.

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17          The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United

18 States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation

19 Officers Hubert Alvarez) and the Office of the Federal Defender and Assistant Federal Defender David

20 M. Porter, pursuant to General Order No. 546. The Federal Defender’s Office shall have 30 days from

21 the date the Court approves the stipulation/order to conduct an initial review of the motion to determine

22 the status of representation of the defendant.

23          1.      If Federal Defender’s Office determines that the defendant is eligible for representation

24 and agrees to represent the defendant, a representative of the Federal Defender’s Office shall file a

25 notice of appearance in the case. If the matter has been referred to panel counsel, a copy of this order

26 shall be forwarded by the Federal Defender’s Office to appointed panel counsel who shall then file a
27 notice of appearance in the case.

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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
              Case 1:05-cr-00112-DAD Document 115 Filed 03/18/15 Page 2 of 2

 1 Dated: March 16, 2015                                  BENJAMIN B. WAGNER
                                                          United States Attorney
 2

 3                                                        /s/ Kathleen A. Servatius
                                                          KATHLEEN A. SERVATIUS
 4                                                        Assistant United States Attorney
 5
     Dated: March 16, 2015                                HEATHER E. WILLIAMS
 6                                                        Federal Defender
 7
                                                          /s/ David M. Porter
 8                                                        DAVID M. PORTER
                                                          Assistant Federal Defender
 9                                                        Attorney for Defendant
10
     IT IS SO ORDERED.
11
     Dated: March 17, 2015
12
                                                    SENIOR DISTRICT JUDGE
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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
